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16   Attorneys for Petitioner/Plaintiff
17                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
18                                    SAN FRANCISCO DIVISION
19                                                  Case No. 3:17-cv-03615-VC
     Ilsa Saravia, as next friend for A.H., a
20   minor, on behalf of herself individually and
     others similarly situated,                     STIPULATION AND [PROPOSED]
                                                    ORDER RE EXTENSION OF CLASS
21                                                  NOTICE DEADLINE
                      Plaintiff,
22          v.
23   Robert Wilkinson, Acting Attorney
     General, et al.,
24
                      Respondents/Defendants.
25

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                                                              STIPULATION AND [PROPOSED] ORDER RE
                                                               EXTENSION OF CLASS NOTICE DEADLINE
                                                                        CASE NO. 3:17-CV-03615-VC
           Case 3:17-cv-03615-VC Document 252 Filed 02/18/21 Page 2 of 5



 1                                                RECITALS
 2          WHEREAS, pursuant to Paragraph VIII.F of the Settlement Agreement in this case, the
 3   deadline for mailing the Updated Class Notice to the individuals on the Class List and their attorneys
 4   is currently Thursday, February 18, 2021; and
 5          WHEREAS, the Parties have been diligently meeting and conferring concerning the language
 6   of the Updated Class Notice and its shortened version, and translating those Notices into Spanish;
 7   and
 8          WHEREAS, the Parties are close to finalizing the English and Spanish versions of the
 9   Notices, but require a brief period of additional time to complete that process; and
10          WHEREAS, after finalizing the Notices, Defendants will require time to mail the Updated
11   Class Notice pursuant to Paragraph VIII.F.3 of the Agreement;
12                                              STIPULATION
13   It is hereby agreed between the Parties, subject to the Order of the Court, as follows:
14          The Parties jointly request that the Court extend the deadline for mailing the Updated Class
15          Notice pursuant to Paragraph VIII.F.3 of the Agreement until Monday, March 1, 2021.
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                                                                      STIPULATION AND [PROPOSED] ORDER RE
                                                                       EXTENSION OF CLASS NOTICE DEADLINE
                                                                                CASE NO. 3:17-CV-03615-VC
          Case 3:17-cv-03615-VC Document 252 Filed 02/18/21 Page 3 of 5


     Dated: February 17, 2021           COOLEY LLP
 1
                                        /s/ Martin S. Schenker
 2                                      Martin S. Schenker

 3   Dated: February 17, 2021           AMERICAN CIVIL LIBERTIES UNION
                                        FOUNDATION OF NORTHERN CALIFORNIA
 4
                                        /s/ William S. Freeman
 5                                      William S. Freeman

 6
     Dated: February 17, 2021           AMERICAN CIVIL LIBERTIES UNION
 7
                                        IMMIGRANTS’ RIGHTS PROJECT
 8                                      /s/ Stephen B. Kang
                                        Stephen B. Kang
 9

10   Dated: February 17, 2021           LAW OFFICES OF HOLLY COOPER
11                                      /s/ Holly S. Cooper
                                        Holly S. Cooper
12

13                                      NEW YORK CIVIL LIBERTIES UNION
     Dated: February 17, 2021           FOUNDATION
14
                                        /s/Amy Belsher
15                                      Amy Belsher
                                        Attorneys for Petitioner/Plaintiff
16

17   Dated: February 17, 2021           UNITED STATES DEPARTMENT OF JUSTICE
18                                      /s/ Nicole N. Murley
                                        Nicole N. Murley
19                                      Counsel for Respondents/Defendants

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                                                          STIPULATION AND [PROPOSED] ORDER RE
                                                           EXTENSION OF CLASS NOTICE DEADLINE
                                                                    CASE NO. 3:17-CV-03615-VC
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           Case 3:17-cv-03615-VC Document 252 Filed 02/18/21 Page 5 of 5



 1
                                               ATTESTATION
 2
            Pursuant to Civil L.R. 5-1(i)(3) regarding signatures, I attest under penalty of perjury that
 3
     concurrence in the filing of this document has been obtained from the other signatories.
 4

 5
      Dated:        February 17, 2021             /s/ Stephen B. Kang
 6
                                                  Stephen B. Kang
 7                                                Attorney for Plaintiff

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                                                                      STIPULATION AND [PROPOSED] ORDER RE
                                                                       EXTENSION OF CLASS NOTICE DEADLINE
                                                                                CASE NO. 3:17-CV-03615-VC
